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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION

UNITED STATES OF AMERICA                )
                                        )       CASE NO. CR 218-014
v.                                      )
                                        )
EDRIN TEMPLE                            )
                                        )

       NOTICE OF INTENT TO SEEK ENHANCED SENTENCE AS TO
                    DEFENDANT EDRIN TEMPLE

      The United States intends to seek enhanced punishment under Title 21,

United States Code, Section 851.

      1.     Procedural History and Charges

      On March 7, 2018, a federal grand jury returned an indictment (Doc. 3)

charging the defendant with the following offenses:

          Count 1, Conspiracy to Possess With Intent to Distribute and to Distribute

           Controlled Substances (5 Kilograms or More of Cocaine, a Quantity of

           Cocaine Base “Crack,” and a Quantity of Marijuana), in violation 21 U.S.C.

           § 846

          Count 19, Possession of Controlled Substance with Intent to Distribute

           (Cocaine), in violation of 21 U.S.C. § 841(a)(1)

      Count 1, as alleged in the indictment, carries a potential punishment of not

less than 10 years of imprisonment and not more than life; not more than a

$10,000,000 fine; not less than 5 years of supervised release, up to life. However, if



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“any person commits such a violation after two or more prior convictions for a felony

drug offense have become final,” such person will be subject to an enhanced

punishment as follows: mandatory term of life imprisonment without release; and not

more than a $20,000,000 fine. 21 U.S.C. § 841(b)(1)(A).

      Count 19, as alleged in the indictment, carries a potential punishment of not

more than 20 years of imprisonment; not more than a $1,000,000 fine; and not less

than 3 years of supervised release. However, if “any person commits such a violation

after a prior conviction for a felony drug offense has become final,” such person will

be subject to an enhanced punishment as follows:          not more than 30 years of

imprisonment, not more than a $2,000,000 fine, and not less than 6 years of

supervised release. 21 U.S.C. 841(b)(1)(C).

      2.     Law and Circumstances

Title 21, United States Code, Section 851, states in part:

      (a)(1) No person who stands convicted of an offense under this part shall be

sentenced to increased punishment by reason of one or more prior convictions, unless

before trial, or before entry of a plea, the United States attorney files an information

with the court (and serves a copy of such information on the person or counsel for the

person) stating in writing the previous convictions to be relied upon….

      The government is hereby providing notice of enhanced penalty and noticing

the following qualifying drug convictions for the defendant:

      (1)    Sale of a Controlled Substance, McIntosh County Superior Court,

Charge No. 00065935870003, on September 8, 2000;



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      (2)   Purchase, Possession, Manufacture, Distribution, or Sale of Marijuana,

Brunswick Municipal Court, Case No. 001280, on April 6, 2005;

      (3)   Possession of Cocaine with Intent to Distribute, McIntosh County

Superior Court, Case No. 14CR00128, on November 29, 2016.

      3.    Conclusion

      Because the defendant has qualifying drug convictions, the United States is

seeking enhanced punishment.


                                         Respectfully submitted,

                                         BOBBY L. CHRISTINE
                                         United States Attorney

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                                         Assistant United States Attorney
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                            CERTIFICATE OF SERVICE

      The undersigned AUSA hereby certifies that a copy of this pleading has been

filed in the ECF system and therefore served on the defendant.



                                         Respectfully submitted,

                                         BOBBY L. CHRISTINE
                                         United States Attorney

                               By:       s/ Matthew A. Josephson
                                         Assistant United States Attorney
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